
PER CURIAM.
This ease having this day been submitted to the court upon the evidence adduced, and the law and the evidence being in favor of the plaintiff and against defendant, and for the reasons assigned:'
It is hereby ordered, adjudged, and decreed,, that the judgment by default herein rendered" on the 29th day of April, A. D. 1910, be and *263it is hereby confirmed and made final, and accordingly there is judgment herein forever disbarring the defendant, Joseph Q. Gowland, from practicing in this state as an attorney and counselor at law, and that his license as such, issued to him by this court on December 19, A. D. 1898, be and it is hereby revoked, annulled, and avoided.
It is further ordered that the costs of this case be paid by said defendant.
